Case 9:17-cr-80089-KAM Document 41 Entered on FLSD Docket 09/01/2017 Page 1 of 13   1




    1                       UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA
    2                         WEST PALM BEACH DIVISION
                               CASE NO. 17-80089-KAM
    3

    4
           UNITED STATES OF AMERICA,
    5
                            Plaintiff,
    6
                 vs.
    7
                                                    West Palm Beach, Florida
    8                                               June 21, 2017
           MOHAMMED MUSTAFA AGBAREIA,
                            AGBAREIA,               Pages 1-13
    9
                          Defendant.
   10      _______________________________________________________________

   11
                            TRANSCRIPT OF INITIAL APPEARANCE
   12                     BEFORE THE HONORABLE JAMES M. HOPKINS
                             UNITED STATES MAGISTRATE JUDGE
   13

   14      APPEARANCES:

   15      FOR THE PLAINTIFF:
                                  United States Attorney's Office
   16                             BY: JARED M. STRAUSS,
                                                STRAUSS, A.U.S.A.
                                  500 East Broward Boulevard
   17                             Suite 700
                                  Fort Lauderdale, Florida 33394
   18

   19      FOR THE DEFENDANT:
                                  BY: LARRY D. MURRELL, JR.,
                                                         JR., ESQ.
   20                             400 Executive Center Drive
                                  Suite 201
   21                             West Palm Beach, Florida 33401

   22
           TRANSCRIBED BY:        DAWN M. SAVINO,
                                          SAVINO, RPR
   23                             Official Court Stenographer
                                  400 N. Miami Avenue, 10S03
   24                             Miami, Florida 33128
                                  Telephone: 305-523-5598
   25




                       PROCEEDINGS RECORDED BY DIGITAL AUDIO RECORDING
                               TRANSCRIPT PRODUCED BY COMPUTER
Case 9:17-cr-80089-KAM Document 41 Entered on FLSD Docket 09/01/2017 Page 2 of 13    2




    1                                  P-R-O-C-E-E-D-I-N-G-S

    2                 THE COURT:     Let me call it.   Yeah.

    3                 Calling United States versus Mohammed Mustafa Agbareia.

    4                 Counsel, please announce your appearance.

    5                 MR. STRAUSS:     Good afternoon, Your Honor.    Jared

    6      Strauss on behalf of the United States.

    7                 MR. MURRELL:     Donny Murrell on behalf of Mr. Agbareia.

    8                 THE COURT:     Okay.   Would you swear the Defendant in?

    9                 COURTROOM DEPUTY:      Would you raise your right hand?       Do

   10      you swear the statements you're about to make before this Court

   11      shall be the truth, the whole truth and nothing but the truth,

   12      so help you God?

   13                 THE DEFENDANT:     Yes, I do.

   14                 COURTROOM DEPUTY:      Please state your full name.

   15                 THE DEFENDANT:     Mohammed Agbareia.

   16                 THE COURT:     Mr. Agbareia, you are here for an initial

   17      appearance on an indictment charging you with wire fraud in

   18      Counts 1 through 4, which each carries a maximum penalty of 20

   19      years imprisonment, $250,000 fine and three years supervised

   20      release.

   21                 You have the right to have an attorney represent you.

   22      If you cannot afford one, one will be appoint for you.

   23                 You also have the right to remain silent.       Anything you

   24      say can be used against you.       If you choose to make any

   25      statements, you can, at any time, change your mind and



                       PROCEEDINGS RECORDED BY DIGITAL AUDIO RECORDING
                               TRANSCRIPT PRODUCED BY COMPUTER
Case 9:17-cr-80089-KAM Document 41 Entered on FLSD Docket 09/01/2017 Page 3 of 13     3




    1      thereafter remain silent.        Do you understand?

    2                THE DEFENDANT:     I understand it.

    3                THE COURT:     Do you want me to ask you questions to see

    4      if you qualify for a court appointed attorney?

    5                THE DEFENDANT:     Yes, sir.

    6                THE COURT:     Do you own anything anywhere in the world

    7      valued at $5,000 or more?

    8                THE DEFENDANT:     My wife is the owner for that.       She

    9      owns two cars.

   10                THE COURT:     Okay.    Anything else?

   11                THE DEFENDANT:     That's it.

   12                THE COURT:     Okay.    I find that you are indigent and

   13      I'll appoint Mr. Murrell to represent you.           And thanks for

   14      making yourself available this afternoon.

   15                What's the Government's bond recommendation?

   16                MR. STRAUSS:     Your Honor, the Government is

   17      recommending pretrial detention based on risk of flight.

   18                THE COURT:     Okay.    And what's the basis for the

   19      recommendation?

   20                MR. STRAUSS:     Your Honor, there are several bases for

   21      the recommendation.

   22                First is -- first is the strength of the Government's

   23      case.   The Defendant is currently facing four counts of wire

   24      fraud, each carry a maximum of 20 years.           We estimate, based on

   25      the guidelines, he faces an estimated range of 63 to 78 months.



                       PROCEEDINGS RECORDED BY DIGITAL AUDIO RECORDING
                               TRANSCRIPT PRODUCED BY COMPUTER
Case 9:17-cr-80089-KAM Document 41 Entered on FLSD Docket 09/01/2017 Page 4 of 13   4




    1                The Defendant was engaged in what we refer to as a

    2      stranded traveler scam.      Essentially he would call up -- he

    3      would call up victims, either in the United States or in other

    4      countries, and try to make appointments to meet with them under

    5      various guises.    As an example, in one guise, he would pretend

    6      to be a medical tourist, someone who is seeking medical

    7      attention either for himself or for someone else, and would call

    8      a doctor's office, make arrangements to travel to wherever the

    9      doctor was living in order to have that treatment.         A day or two

   10      before he was scheduled for this appointment, he would call up

   11      again and claim that he had been stranded, that he was stuck in

   12      the airport, lost his luggage, lost his wallet and needed the

   13      doctor to wire him money in order for him to, you know, buy

   14      another ticket to complete his travel.        The money would then be

   15      wired Western Union and the Defendant would go pick it up and

   16      keep the money and that would be the end of their communication.

   17                Based on what Mr. Agbareia has already admitted to to

   18      the FBI, he has been conducting this scheme -- well one, he was

   19      already convicted of conducting this kind of scheme once before

   20      back in 2005, 2006 in Federal District Court in Alabama.          He

   21      re-started that scheme again in 2007 and seems to have been

   22      conducting it fairly continuously since then, really up until

   23      yesterday.

   24                The Government believes that he's -- pursuant to this

   25      scheme, he's caused more than 200 wires from victims of funds to



                        PROCEEDINGS RECORDED BY DIGITAL AUDIO RECORDING
                                TRANSCRIPT PRODUCED BY COMPUTER
Case 9:17-cr-80089-KAM Document 41 Entered on FLSD Docket 09/01/2017 Page 5 of 13    5




    1      him amounting to more than $284,000 worth of loss.         Again, he

    2      has admitted this conduct to the FBI, both in an interview last

    3      September and then in a post-Miranda interview this morning when

    4      he was arrested.

    5                When he -- pursuant to this scheme, he uses many

    6      different aliases.     During his post-Miranda interview today, he

    7      identified himself in videos of himself picking up wires at

    8      Publix grocery stores in the Palm Beach County area under

    9      various different pseudonyms.      We have video of him conducting

   10      at least nine such transactions during this year 2017, and

   11      again, he's identified himself in each one.        In each one --

   12      excuse me -- he was using again various different aliases.

   13                Also to commit this scheme, he uses false identities,

   14      false identifications.     He's admitted to the FBI that he makes

   15      these identifications himself and has even gotten access to

   16      holograms to help him produce more genuine looking

   17      identifications.     The identifications he produces purport to be

   18      some type of Canadian identification, although they are

   19      completely fictitious.

   20                So that's a summary of the case against him.         And part

   21      of the basis for detention is the strength of that case, again

   22      having the Defendant's own confessions, him identifying himself

   23      on video conducting some of these transactions, and the amount

   24      of time that he's facing.

   25                The second basis is he currently does not have legal



                       PROCEEDINGS RECORDED BY DIGITAL AUDIO RECORDING
                               TRANSCRIPT PRODUCED BY COMPUTER
Case 9:17-cr-80089-KAM Document 41 Entered on FLSD Docket 09/01/2017 Page 6 of 13    6




    1      immigration status in the United States.        He was initially

    2      paroled into the United States and received deferred action

    3      several times.    His latest deferred action expired in April.           He

    4      has currently received a notice to appear from Immigration

    5      Services and charged with being an alien present in the United

    6      States without a visa.     We've been informed by immigration

    7      authorities that they intend to take him into immigration

    8      custody for detention in the Krome facility if he is released on

    9      bond in this case.

   10                While his wife and his son do live here and he's been

   11      living with them here in Palm Beach County, I believe he also

   12      has ties to the State of Israel, that is where his citizenship

   13      is, including his mother and, I believe, at least one brother

   14      living there as well.

   15                In addition to his lack of status, his access to false

   16      identifications and the case against him, I should also mention

   17      that he's admitted -- regarding the identifications, he has

   18      traveled under passports in other names before.         He's admitted

   19      that, I believe, back in the 90s to obtaining a British passport

   20      and a false identity and using that to travel.         I believe he's

   21      also, if I'm correct, and I'd have to check with the agents

   22      behind me, but I believe he's also previously obtained an

   23      Israeli passport in a name slightly different from his own and

   24      used that to travel into Canada.       So again, the access to false

   25      identifications raises the specter of potentially traveling even



                       PROCEEDINGS RECORDED BY DIGITAL AUDIO RECORDING
                               TRANSCRIPT PRODUCED BY COMPUTER
Case 9:17-cr-80089-KAM Document 41 Entered on FLSD Docket 09/01/2017 Page 7 of 13   7




    1      while under bond.

    2                  Finally Your Honor, what concerns us is, as I've said

    3      earlier, the Defendant initially admitted this scheme -- to

    4      conducting the scheme back in September to agents of the FBI.

    5      He was specifically admonished at that time to cease the

    6      activity.    Based on the evidence of the investigation, he has

    7      not done so; in fact, he has continued to commit this scheme, in

    8      fact prolifically, really even up until yesterday.

    9                  Based on his continued fraudulent activity, even in the

   10      face of knowing that it was under investigation, even knowing

   11      that he was likely to be charged with that offense, it suggests

   12      that he is -- it suggests that he may not be able to follow the

   13      conditions of bond, similarly if he is not able to heed the

   14      warnings of the FBI to stop his fraudulent activities.

   15                  There is one matter, Your Honor, that I think in candor

   16      I should share with the Court.        Although if we could share that

   17      information sidebar with defense counsel present, I think -- I

   18      think that would be the most appropriate thing to do.

   19                  THE COURT:     Do you want to go sidebar?

   20                  MR. STRAUSS:     Yes please.

   21                  MR. MURRELL:     I would like my client to be present

   22      because, Judge, I need -- I've been handed a page and a half of

   23      material that I'm not sure what I'm allowed to do with, but I

   24      would like my client to hear whatever the Government is about to

   25      say so that he can confirm it with me or tell me that it's not



                        PROCEEDINGS RECORDED BY DIGITAL AUDIO RECORDING
                                TRANSCRIPT PRODUCED BY COMPUTER
Case 9:17-cr-80089-KAM Document 41 Entered on FLSD Docket 09/01/2017 Page 8 of 13    8




    1      accurate.

    2                  MR. STRAUSS:     That's perfectly fine, Your Honor.      I

    3      have no objection to the client being part of the sidebar.

    4                  THE COURT:     We can just go off the record if you want.

    5      There's nobody in court that --

    6                  MR. STRAUSS:     That's fine, Your Honor.

    7                  THE COURT:     Okay.   So we're back on the record now and

    8      we're at the stage where I'm just asking the Government for the

    9      basis for their detention request and then I'll get to the

   10      defense and ask them what you want to do.          I mean, do you want

   11      to have a full-blown hearing today?          Do you want to have a

   12      full-blown hearing at some future date?          You know, what your

   13      position is.    I'm just satisfying myself that there is a good

   14      faith basis to ask for detention, at which point we would have,

   15      if you so desire, a detention -- a full-blown detention hearing.

   16                  So I don't know as I need to get into anything else

   17      right now unless you want to have a full detention hearing now,

   18      and the Government is prepared to do that.          So are you -- do you

   19      have anything else to tell me at this stage?

   20                  MR. STRAUSS:     No, Your Honor.    I think I've adequately

   21      summarized the basis for our detention request.

   22                  THE COURT:     Okay.   So Mr. Murrell, what's your

   23      pleasure?    I mean, do you want to have a detention hearing now

   24      or at some time in the future?          What's your pleasure?

   25                  MR. MURRELL:     No, sir.    I would prefer that you rule



                        PROCEEDINGS RECORDED BY DIGITAL AUDIO RECORDING
                                TRANSCRIPT PRODUCED BY COMPUTER
Case 9:17-cr-80089-KAM Document 41 Entered on FLSD Docket 09/01/2017 Page 9 of 13   9




    1      that they haven't established enough of a good faith claim for

    2      there to be a detention hearing.

    3                THE COURT:     Well, the fact that he's out -- you know,

    4      it's a two-step process.      And the first step is a minimal step,

    5      it's basically I have to assess whether or not they're making a

    6      good faith basis to ask for detention.         And that's a minimal

    7      standard, and I think that they've met that minimal standard

    8      here where the person is not a US citizen, is subject to

    9      deportation, they said that he will be taken into immigration

   10      custody if he is released.      He has used fake names and fake

   11      passports in the past.     I mean, without even getting into the

   12      rest of the equation, that by itself, that's more than enough

   13      good faith basis to ask for detention.

   14                MR. MURRELL:     It would be if all of those things had

   15      not happened at the Government's direction.         And unless I'm

   16      missing --

   17                THE COURT:     Hold on.   Hold on.    Did all those things

   18      happen at the Government's direction?

   19                MR. STRAUSS:     No, Your Honor.

   20                MR. MURRELL:     Well, what parts did not, Judge?      Because

   21      he has been working --

   22                THE COURT:     Did any of those things that you've just

   23      outlined happen at the Government's direction or were all of

   24      those things that you mentioned things that he did on his own?

   25                MR. STRAUSS:     The only thing that's been at the



                        PROCEEDINGS RECORDED BY DIGITAL AUDIO RECORDING
                                TRANSCRIPT PRODUCED BY COMPUTER
Case 9:17-cr-80089-KAM Document 41 Entered on FLSD Docket 09/01/2017 Page 10 of 13 10




     1     Government's direction that I've mentioned is his presence in

     2     the United States.      None of the activities that he undertook --

     3                THE COURT:     Okay.   So all the things that I mentioned

     4     that support their good faith basis, according to the

     5     Government, were done in his own initiative.        And that supports

     6     a good faith basis to ask for detention.

     7                MR. MURRELL:     All right.   Well then, Judge, we would

     8     like to have a detention hearing.

     9                THE COURT:     When would you like to have it?

    10                MR. MURRELL:     I need some time to prepare.    I just met

    11     him.

    12                THE COURT:     Sure.

    13                MR. MURRELL:     Can we do it --

    14                THE COURT:     Sounds like a complex detention hearing to

    15     me.

    16                MR. MURRELL:     Can we do it Monday?

    17                THE COURT:     We can do Tuesday.

    18                MR. MURRELL:     Tuesday's fine.

    19                THE COURT:     Are you going to be able to do it Tuesday,

    20     Mr. Strauss?

    21                MR. STRAUSS:     Tuesday is actually a little difficult

    22     for me, at least in the morning, Your Honor.

    23                THE COURT:     We can do it in the afternoon.    Right now I

    24     think I'm free on Tuesday.

    25                COURTROOM DEPUTY:      You have the 11:00.



                       PROCEEDINGS RECORDED BY DIGITAL AUDIO RECORDING
                               TRANSCRIPT PRODUCED BY COMPUTER
Case 9:17-cr-80089-KAM Document 41 Entered on FLSD Docket 09/01/2017 Page 11 of 13 11




     1                THE COURT:     An 11:00 hearing?           That's it?

     2                COURTROOM DEPUTY:           Yeah.

     3                THE COURT:     I can do it any time in the afternoon.

     4                MR. STRAUSS:        All right.        I'm free whatever time in the

     5     afternoon.

     6                THE COURT:     Tuesday afternoon?

     7                MR. STRAUSS:        We'll be here.

     8                THE COURT:     What time?           Any preference?

     9                MR. MURRELL:        You tell us, Judge.

    10                THE COURT:     What time do you prefer, Tanya?

    11                COURTROOM DEPUTY:           1?   2?

    12                THE COURT:     1 or 2?

    13                MR. MURRELL:        2.

    14                THE COURT:     2.        Okay.   Do you want to prepare him to be

    15     arraigned and we'll arraign him?

    16                MR. MURRELL:        Judge, I have done that already.        We went

    17     over the indictment.      Judge, if you don't -- could we wait until

    18     the detention hearing?         And the only reason I say that is

    19     because I read the indictment and I have some questions about

    20     whether it alleges the facts or the allegations with enough

    21     specificity on the fraud issue.                And I don't want to waive that

    22     argument by waiving reading and --

    23                THE COURT:     I don't know that you do waive it.

    24                MR. MURRELL:        All right.

    25                THE COURT:     I don't know.           I didn't say you don't.



                        PROCEEDINGS RECORDED BY DIGITAL AUDIO RECORDING
                                TRANSCRIPT PRODUCED BY COMPUTER
Case 9:17-cr-80089-KAM Document 41 Entered on FLSD Docket 09/01/2017 Page 12 of 13 12




     1                MR. MURRELL:     Well, then I would rather just --

     2                THE COURT:     I just said I don't know.

     3                MR. MURRELL:     We'll be back Tuesday, and an arraignment

     4     doesn't take that long, if you don't mind.        I'll check on it.

     5                THE COURT:     He's got to waive his speedy trial rights

     6     for the period between today and Tuesday the 27th.

     7                MR. MURRELL:     We will.

     8                THE COURT:     Prepare to waive his speedy trial rights --

     9     it's an indicted case.      Is he prepared to waive his speedy trial

    10     rights for the period between now and June 27, 2017?

    11                MR. MURRELL:     Yes, sir.

    12                THE COURT:     Now, I have to ask you, I have to ask the

    13     Defendant, are you prepared to waive your speedy trial rights

    14     for the period between today and Tuesday, June 27th?         And I have

    15     to advise you that both you, the Government and the public have

    16     the right to a speedy trial and by delaying your arraignment

    17     until Tuesday, it means that speedy trial clock will not be

    18     running and we won't be proceeding to trial, a speedy trial,

    19     that period between now and Tuesday.       And so you won't be

    20     requiring the Government to give you a speedy trial for that

    21     period.    The speedy trial clock won't start running until

    22     Tuesday.

    23                Are you willing to waive your speedy trial rights for

    24     the period between now and Tuesday?

    25                THE DEFENDANT:     May I ask my --



                       PROCEEDINGS RECORDED BY DIGITAL AUDIO RECORDING
                               TRANSCRIPT PRODUCED BY COMPUTER
Case 9:17-cr-80089-KAM Document 41 Entered on FLSD Docket 09/01/2017 Page 13 of 13 13




     1                THE COURT:     Sure.   You can talk to your lawyer.

     2                THE DEFENDANT:     Yes.

     3                THE COURT:     Very well.   I find that the speedy trial

     4     clock is tolled for the period between today and Tuesday, the

     5     27th of June in that the interests of justice outweighs the

     6     right to a speedy trial in order to allow the defense to prepare

     7     for arraignment and it specifically outweighing the public's

     8     right to a speedy trial.

     9                And so we'll see you Tuesday afternoon at 2:00 for an

    10     arraignment and detention hearing.        Thank you.   Thank you all.

    11                MR. STRAUSS:     Thank you, Your Honor.

    12                THE COURT:     And thanks again for coming in this

    13     afternoon.

    14                MR. MURRELL:     You're welcome, Judge.

    15                (PROCEEDINGS CONCLUDED)

    16                                       * * * * *

    17                           C E R T I F I C A T E
           I certify that the foregoing is a correct transcript from the
    18     digital audio recording of proceedings in the above-entitled
           matter.
    19

    20     9-1-2017                    /s/ Dawn M. Savino
           Date                        DAWN M. SAVINO, RPR
    21

    22

    23

    24

    25




                        PROCEEDINGS RECORDED BY DIGITAL AUDIO RECORDING
                                TRANSCRIPT PRODUCED BY COMPUTER
